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                                                                                                                AND SRI LANKA




 May 26, 2020


 VIA ECF

  The Honorable Robert B. Kugler
  United States District Judge
  District of New Jersey

  The Honorable Joel Schneider
  United States Magistrate Judge
  District of New Jersey


             Re:       In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                       Case No. 1:19-md-02875-RBK-JS

 Dear Judge Kugler and Schneider:

        This letter is to provide Defendants’ positions with respect to the topics on the agenda for
 the conference with the Court on May 27.

 1.          Short Form Complaints

        On February 19, 2020, the Court ordered certain Plaintiffs to file amended Short Form
 Complaints (“SFC”) by March 3 to cure two types of deficiencies: (1) failure to properly serve the
 SFC through MDL Centrality, or (2) the over-identification of Defendants by checking every box
 on the form SFC. See Dkt. 377 ¶ 5. The Court later extended that deadline until March 23. See
 Dkt. 388 at 2. In light of the difficulties presented by COVID-19, the Defendants agreed to extend
 the deadline to cure deficient SFCs to May 20. A list of SFCs that remain deficient, all of which
 over-identify Defendants, is attached at Exhibit A. Defendants respectfully request the Court
 dismiss these deficient short form complaints for failure to comply with Rule 11.




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 2.     Plaintiff Fact Sheets

         Pursuant to Case Management Order No. 16 (Dkt. 249), Defendants submit the attached
 Exhibit B listing outstanding disputes between the parties with respect to Plaintiff’s Fact Sheets
 (“PFS”). In accordance with the procedure established by the Court, Defendants reviewed the
 submitted Plaintiff’s Fact Sheets in the listed cases and served deficiency letters on Plaintiff’s
 counsel. The cases identified on Exhibit B are those where disputes were not resolved following
 receipt of a supplemental response or amended PFS.

         To help facilitate resuming the show cause process, the parties met and conferred on May
 11, 2020, at which time Defendants provided an exhibit with cases still in dispute as well as a list
 of issues they characterized as “core” deficiencies sufficient to render a PFS substantially
 incomplete. Plaintiffs requested that Defendants identify the sections of the personal injury PFS
 which corresponded to the list of core deficiencies and to amend their list of cases to focus on core
 deficiencies. Defendants provided Plaintiffs with a chart listing sections of the PFS which
 potentially contained core deficiencies on May 22, 2020, and noted that the prior exhibit list of
 cases would be updated to confine the identified deficiencies to “core” deficiencies wherever
 possible. (See Exhibit C, S. Harkins 5.22.2020 Email to M. Goldenberg). On Monday, May 25,
 2020, Plaintiffs requested that the list of cases also be provided in advance of the May 27th Case
 Management Conference, (Ex. C, S. Harkins 5.22.2020 Email to M. Goldenberg), and Defendants
 sent the updated list to Plaintiffs on May 26, 2020. (Ex. C, email).

           Defendants’ Exhibit B contains lists of two sets of cases: those which are appearing on the
 list for the first time (Table A and Table B) and those which are appearing on the list for the second
 time (Table C). Under CMO 16, Defendants may request a show cause order be entered as to a
 delinquent party once it has appeared on the agenda for two Case Management Conferences
 (“CMC”). (See Dkt. 249). Accordingly, Defendants will continue to meet and confer and review
 supplemental responses and amended fact sheets as applicable for those cases identified on Table
 A and Table B, and no action by the Court on these cases is requested at this time. However,
 subject to the resolution of the discrete issues identified below, Defendants intend to request a
 show cause order returnable at the June 24, 2020 CMC with respect to those cases listed on
 Table C.

         Defendants first discrete issue concerns the format of authorizations required by the PFS.
 The language the parties specifically negotiated requires: “For each primary health care provider,
 specialist used as a primary health care provider, and each health care provider who diagnosed or
 treated the injuries attributed to the Valsartan product, identified in the PFS, please provide a
 completed and signed (but undated) Health Care Authorization in the form attached as Exhibit
 ‘A.’” (Dkt. 249, Ex. A). Plaintiff’s counsel in numerous cases has taken the position that providing
 a single, blank Health Care Authorization form is sufficient. Defendants have encountered issues
 collecting records with such an authorization in other matters, and specifically negotiated for the
 above language with that in mind. Defendants request that the Court confirm authorizations are to
 be provided in the manner specified by the plain language of the PFS.
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         Second, Plaintiff’s counsel in numerous cases have taken the position that they are not
 required to complete section III.G of the PFS which requires disclosure of medical expenses. (See
 generally Exhibit B). Alternatively, Plaintiff’s counsel has in some instances represented that
 billing records produced in response to the PFS obviate the need to complete this section. Once
 again, this portion of the PFS was explicitly negotiated by the parties, and Defendants request that
 the Court confirm this section is to be completed by each responding Plaintiff, regardless of
 whether records with some cost information are also produced.

         As the Court can see from the list of core deficiencies identified in Exhibit B, resolution of
 these issues should narrow the parties’ disputes and limit the number of cases to be included on
 Defendants’ request for a show cause order to be entered at the Jun 26, 2020 CMC.

 3.     ESI Search Terms

        Pursuant to the Court’s May 18, 2020 Order (Dkt. 432), and the Court’s May 19, 2020
 modification to that Order (Dkt. 434), Defendants will be filing their letter brief requesting
 modification of the search terms on May 27, 2020.

 4.     Manufacturer Defendant Fact Sheet

        A.      Introduction

          By way of background, Plaintiffs propose four different Defendant Fact Sheets (“DFS”)
 directed toward four distinct levels of the supply chain: Retailers, Wholesalers, Finished Dose
 Manufacturers, and API Manufacturers. Through these DFS, Plaintiffs hope to trace each valsartan
 tablet dispensed to a particular plaintiff upward through the supply chain, all the way to the specific
 lot of finished dose product and the specific batch of API. The idea is that the Retailers will first
 answer their DFS; the Wholesalers will then use that information to answer their DFS; and so on
 up the supply chain. See 1/15/20 Tr. at 28:21–29:1 (“[W]hen we take the information from the
 retailer going backwards up the distribution chain…now we know that James Smith took a pill
 with these identification numbers.”).

         As the Retailers and Wholesalers have explained to Plaintiffs and the Court, it is very
 unlikely that this endeavor will succeed. Neither the Retailers nor the Wholesalers track product
 based on lot number, and therefore there is, in most cases, no record showing which consumers
 received valsartan tablets from which finished dose lots. And to the extent product identification
 is provable on a granular, lot- or batch-specific basis, that proof would rest on speculation—not
 on accurate, precise data that Defendants could provide through responses to a DFS. Although
 Plaintiffs would like to avoid the difficulty of connecting various data points that suggest a
 particular pill may have come from a particular lot or batch, that is the reality of product
 identification in the generic drug market. And that is Plaintiffs’ burden to prove. See, e.g., Namm
 v. Charles E. Frosst and Co., Inc., 427 A.2d 1121, 1125 (N.J. Super. 1981) (“It is a fundamental
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 principle of products liability law that a plaintiff must prove, as an essential element of his case,
 that the defendant manufacturer actually made the particular product which caused injury.”
 (collecting cases)). Thus, although the Manufacturers have continued to negotiate the DFS, the
 Manufacturers have repeatedly cautioned that they likely cannot provide the granular, plaintiff-
 specific information that Plaintiffs seek.

         The Manufacturers have agreed to a number of questions in the two DFS directed toward
 the API Manufacturers and the Finished Dose Manufacturers respectively (collectively, the
 “Manufacturer DFS”). Specifically, the Manufacturers have agreed to answer questions related to
 product identification, such as the identity of the manufacturer, lot or batch number, date of
 manufacture, expiration date, customer, and date of sale—to the extent it is possible to do so. See
 Exhibits D and E (attaching the Manufacturers’ proposed DFS).1 This is consistent with the
 Court’s January ruling that the DFS shall include “product identification information,” Dkt. 360
 ¶ 5, but cannot otherwise duplicate the finalized Manufacturer document requests, see 1/28/20 Tr.
 at 64:4–5. Notwithstanding the Court’s previous ruling, Plaintiffs insist that the DFS should go
 beyond product identification and further identify documents related to specific lots or batches,
 many of which have already been produced through core discovery and all of which will be
 produced in response to the Manufacturer document requests. Plaintiffs’ position should be
 rejected as an attempt to relitigate the Court’s earlier ruling and to impose on the Manufacturers
 unnecessary burden and expense.

           B.     Relevant Procedural History Related to Manufacturer DFS

         After the Court finalized the Rule 34 document requests directed toward the Manufacturers,
 it became clear that the Manufacturer DFS requested information that was duplicative of the
 documents Plaintiffs would receive through document productions. For that reason, on January 15
 the Manufacturer Defendants requested that the Court forego the DFS directed toward them
 entirely. See 1/14/20 Ltr. from S. Goldberg (Dkt. 338) at 8 (arguing DFS was now “unnecessary,
 cumulative, and unduly burdensome”). The Court agreed that “there can be no legitimate dispute
 that the fact sheets shouldn’t duplicate what the…manufacturing defendants have to answer in the
 request for production,” and asked the parties to “go back to the draft” DFS and “clean it up” in
 light of the scope of the document requests. 1/15/20 Tr. at 27:13–19. The Court instructed that the
 DFS should be limited to information “that’s not covered by the document requests.” Id. at 27:23–
 24.

         Despite the Court’s clear instructions, Plaintiffs proceeded to circulate two draft DFS
 directed toward the API and Finished Dose Manufacturers, respectively, that were almost entirely


 1
     The redlines in these exhibits represent the deletions or changes that the Manufacturers propose.
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 duplicative of the finalized document requests. See 1/27/20 Ltr. from S. Goldberg (Dkt. 353) at
 25; see also Exhibit O to 1/27/20 Ltr. (Dkt. 353-15) (comparing DFS requests against Rule 34
 requests). Plaintiffs argued that their proposed Manufacturer DFS were not duplicative of the Rule
 34 document requests because they were designed to provide “product identification,” or “what
 pills were taken by a particular plaintiff.” 1/27/20 Ltr. from A. Slater (Dkt. 349) at 5; see also
 1/28/20 Tr. at 83:15–18 (arguing that “specific product ID in a specific plaintiff’s case” is not
 “duplication”). However, Plaintiffs’ proposed DFS still contained questions that went well beyond
 identifying the particular tablets dispensed to an individual plaintiff. Defendants maintained that
 all questions, including product identification, were duplicative of the document requests.

        Following the January 28 CMC, the Court adopted a middle ground and ordered that the
 Manufacturer DFS can contain questions “directed toward the product identification issue.” Dkt.
 360 ¶ 5. The Court also limited the DFS to “named class action plaintiffs and twenty (20)
 representative individual personal injury plaintiffs.” Id. Beyond product identification information,
 the Court reiterated that the DFS cannot duplicate the Rule 34 requests. See 1/28/20 Tr. at 64:4–5
 (“No duplication[.] [T]here can’t be a dispute about that.” (emphasis added)).

        C.      Summary of Recent Meet and Confers

         Following the Court’s January 30 ruling, the Manufacturer Defendants proposed versions
 of the DFS that would provide the information necessary to establish product ID—that is, NDC
 code, batch or lot number, date of manufacture, expiration date, customer, and date of sale, to the
 extent the Manufacturers are able to provide that information on a plaintiff-specific basis. The
 Manufacturer Defendants removed all questions that went beyond product identification except
 one question regarding communications with the individual plaintiff. In the last few weeks, the
 parties have exchanged multiple draft DFS and have met and conferred several times. However,
 the parties continue to dispute the appropriate scope of the DFS.

        D.      Argument

         As explained below, the Manufacturer Defendants maintain that the DFS should be limited
 to product identification information, which will be a time consuming and burdensome process in
 and of itself. Once the Plaintiffs have product ID from the Manufacturers—such as lot and batch
 numbers, date of manufacture, expiration date, customer, and/or date of purchase—it should be
 Plaintiffs’ burden to use that information to identify whatever other documents they believe are
 relevant to proving each individual case. The sections below address the broader reasons why the
 Court should reject each of the disputed DFS questions. In addition, the Manufacturers are
 prepared to address all disputed language at the May 27 CMC.
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                (i)     The Court has already ruled that the DFS should be limited to product
                        identification information.

         In January, the Manufacturers requested that they no longer be required to respond to a
 DFS on the basis that all information requested, including documents showing product
 identification, would be equally discernible to Plaintiffs through the anticipated document
 productions. Plaintiffs argued that an expansive and burdensome DFS was still necessary to
 identify all documents that relate to a single plaintiff, not just the documents showing product ID.
 The Court adopted a middle ground, ordering that the Manufacturers must respond to a DFS, but
 that it will be limited to “product identification information.” Dkt. 360 ¶ 5. Since that ruling,
 Plaintiffs have refused to remove most of their proposed questions that extend far beyond product
 ID. Their proposed Manufacturer DFS should therefore be rejected as an attempt to undermine the
 Court’s earlier ruling.

                (ii)    Plaintiffs seek to avoid the burden of reviewing the expansive discovery they
                        requested through Rule 34 document productions.

         During meet and confers, Plaintiffs have insisted that the DFS go beyond product ID
 because they do not want to “look through a million pages” of documents to find those that relate
 to an individual case. Cf. 5/12/20 Ltr. from A. Slater (Dkt. 430) at 3 (explaining that DFS would
 allow Plaintiffs to avoid having to “identif[y]…the needles in the haystack that specifically apply
 to a particular Plaintiff”). If Plaintiffs did not want to undergo the burden and expense of reviewing
 millions of documents to find the ones relevant to their cases, they should not have requested such
 broad discovery to begin with. They should not be permitted to impose upon the Manufacturers
 the incredible expense of broad discovery—likely to exceed several millions of dollars per
 Manufacturer—only to turn around and also push the cost of reviewing those documents onto the
 Manufacturers.

         Furthermore, when it suits them, Plaintiffs have repeatedly represented that they can review
 large volumes of documents. For example, when arguing for over 120 custodians from the ZHP
 entities alone, Plaintiffs represented that “lawyers in Benicar look[ed] at…[e]very single one” of
 the 64 million pages produced. 12/11/19 Tr. at 98:1–3. And when recently opposing the
 Manufacturers’ proposed discovery extensions, Plaintiffs represented that they “have a large
 document review team” that “are ready to go.” 4/15/20 Tr. at 9:24–10:2. This makes sense. To
 date, at least 78 law firms either have filed personal injury actions or are members of Plaintiffs’
 Leadership. There is no reason that lawyers from these firms cannot review the discovery they
 have asked for to identify documents relevant to each of their cases. This is consistent with the
 Court’s repeated statement that Plaintiffs must have “skin in the game” and do the work necessary
 to prove their cases. 7/24/19 Tr. at 8:18–21 (stating that one of the “themes run[ning] through the
 case” is that “Plaintiffs have skin in the game”); 7/10/19 Tr. at 22:9–19 (stating that “plaintiffs
 have skin in this game” and “have to do their homework”).
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                (iii)   Shifting the burden of identifying relevant documents to Defendants is not
                        necessary to achieve Plaintiffs’ stated goals of eliminating uncertainty and
                        avoiding depositions.

         Plaintiffs’ second justification for the expansive DFS questions is similarly without merit.
 Plaintiffs have argued that the Manufacturers must identify documents relevant to particular
 plaintiffs because, otherwise, “there’s a burden of uncertainty” about which documents relate to
 an individual case. 1/28/20 Tr. at 92:22–93:1. Plaintiffs have also argued that the only alternative
 to a burdensome DFS would be to rely on depositions of corporate representatives. See id. at 93:2–
 7. Neither point has value. Plaintiffs cannot circumvent discovery by having the Court mandate
 concessions by Defendants in the DFS to solidify Plaintiffs’ claims. As in any case, Plaintiffs can
 identify the documents they believe are relevant to their own cases and then proceed with
 attempting to prove their cases thereon. That is the purpose of the Rule 34 document requests and
 productions.

                (iv)    Much of the information requested has already been produced through core
                        discovery.

         Several of the disputed questions should be rejected because they seek information that has
 already been produced through core discovery. For example, the two Manufacturer DFS request
 that the Manufacturers “identify and provide the results of all nitrosamine testing” performed on
 the relevant valsartan. Plaintiffs have already received documents showing the results of
 nitrosamine testing. For example, Prinston has produced documents identifying test results for all
 batches of ZHP’s valsartan API and for all lots of finished dose valsartan that Solco has distributed
 in the United States. PRINSTON00080633 - PRINSTON00080685; PRINSTON00000191 -
 PRINSTON00000226; PRINSTON00000425 - PRINSTON00000453. Once Plaintiffs have
 product identification information—i.e., the batch and lot number associated with a particular
 plaintiff—they are equally capable of reviewing these documents for the relevant test results.
 Questions regarding the scope of valsartan recalls should also be rejected on this basis, as the recall
 notices were produced in core discovery and are publicly available on the FDA website.

                (v)     All other information requested will be produced through Rule 34
                        discovery.

         Similarly, many of the disputed questions should be rejected because they seek information
 that will be produced in response to the Manufacturer document requests. As shown above, the
 Court has repeatedly directed that the DFS cannot duplicate Rule 34 discovery. The burden of
 reviewing these documents should be on Plaintiffs, not on the Defendants. The table below
 identifies the DFS questions that fall in this category and their corresponding Rule 34 request.
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                   DFS Request                                           Rule 34 Request
For each Affected API listed in response to Question     Request No. 27: Produce documentation
II.A, identify whether any solvent used in the           identifying…the solvent(s) (including residual
manufacture of these APIs was recycled or                or reused solvents) utilized in the manufacture of
recovered, and if so, identify the recycled solvent,     each [lot or batch of valsartan]….
the entity(ies) that supplied the solvent, and on
which date those solvents were used to manufacture
the Affected API.
State whether you supplied each test result identified   Request No. 10: All communications between
in response to Question II.B to the FDA or to any        or among any of the defendants with regard
other entity or person (e.g., your actual or             to…testing capable of indicating purity,
prospective customers) or Defendant, and, if so,         bioequivalence, or contamination, [or with
identify the test result and provide the recipient of    regard to] quality assurance related to purity,
the test result, date of communication, and content      bioequivalence, or contamination….
of the communication.
                                                         Request No. 52: Produce all regulatory
                                                         documentation and communications with
                                                         regard to contamination or recalls of valsartan,
                                                         as limited by the Court’s Order.

                                                         Request No. 80: Produce all statements
                                                         regarding     purity,     bioequivalence,    and
                                                         contamination provided to…direct and indirect
                                                         purchasers of valsartan, for each NDC, Batch
                                                         Number, and Lot Number of valsartan sold in the
                                                         United States during the relevant time period.
Provide the date(s) on which you sent any recall         Request No. 69: Produce all documents setting
notice that applied to any Affected API to any           forth or addressing any communications with
Defendants or pharmacies identified in the PFS, or       any customer or consumer relating to the recall
any of your actual or prospective customers of the       (or nonrecall) of valsartan due to contamination.
Affected API listed in response to Question II.A, and
attach the recall notice(s).                          Request No. 76: Produce all communications
                                                      (and drafts) to or from Defendant regarding
                                                      recall of valsartan related to valsartan
                                                      contamination, including lists sufficient to show
                                                      all persons or entities who received
                                                      communications.
Were any Affected API or Affected Drugs sold, Request No. 69: Produce all documents setting
distributed, labeled, or manufactured in whole or in forth or addressing any communications with
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                   DFS Request                                            Rule 34 Request
part by you ever returned to your possession as a any customer or consumer relating to the recall
result of a recall letter, or finding or suspicion of (or nonrecall) of valsartan due to contamination.
contamination for allegedly or possibly containing a
nitrosamine?

                  (vi)     The Manufacturers require 90 days to provide product identification
                           information in response to each DFS.

          The API and Finished Dose Manufacturers each require 90 days to respond to the DFS
  directed toward them. This time is necessary for three reasons: (1) because of the granular nature
  of the product identification information sought through the DFS, (2) because of the volume of
  information that would have to be reviewed for each plaintiff, and (3) because all of the DFS are
  likely to be due at the same time. The Court has ordered that product identification information
  must be provided for 54 plaintiffs (24 consumer class representatives, 10 medical monitoring class
  representatives, and 20 personal injury plaintiffs). See Dkt. 360 ¶ 5. Each of these plaintiffs alleges
  they were dispensed valsartan every 30 to 90 days over a period of years. One of the consumer
  class representatives, for example, has produced pharmacy records showing she was dispensed
  generic valsartan approximately 55 times between 2012 and 2018. In other words, the Defendants
  would have to go through the burdensome—and likely impossible—process of searching through
  six years’ of records to try to identify an untold number of lots and batches that were the source of
  her pills. That is an incredibly time consuming and burdensome process.

                  (vii)    It is premature to require Manufacturers to identify an alternate cause of
                           the Plaintiffs’ alleged injuries.

          Plaintiffs seek to have the Manufacturers identify an alternative cause for the alleged
  injuries through the DFS. It is currently premature to require Manufacturers to identify an
  alternative cause of the Plaintiffs’ alleged injuries. At the very least, this question should state that
  no response is required until the deadline for exchanging expert reports, consistent with the DFS
  adopted in Benicar.

                  (viii)   The Manufacturer Defendants should not have to search for
                           communications with a specific Plaintiff unless that Plaintiff recalls
                           communicating with the Manufacturer.

         The Manufacturer Defendants have agreed to provide information regarding
  communications with individual Plaintiffs subject to two important limitations. First, the
  Manufacturers should be required to answer this question only for Plaintiffs who, in their Plaintiff
  Fact Sheets, indicate that they contacted the applicable Defendant. Plaintiffs are in a better position
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  to know whether they contacted a Manufacturer, and Manufacturers should not have to search
  through their records repeatedly when there is no reason to believe that a Plaintiff contacted them.
  Second, the responsive communications should be limited to official contact or communication
  channels. Otherwise, the Manufacturers would have to search through an unknown number of
  custodial and non-custodial records to determine whether any of their employees communicated
  with the individual plaintiffs during the many years that the plaintiff consumed valsartan. This
  limitation to communications through official contact centers is consistent with the language
  adopted in the Benicar DFS.

                 (ix)    All requests for documents are duplicative of the finalized Rule 34 requests.

           Plaintiffs also request that the Manufacturers produce documents in connection with
  responding to the DFS. These document requests are duplicative of the finalized Rule 34 requests
  directed toward the Manufacturers. The DFS requests documents related to the individual
  plaintiffs, communications with healthcare providers, and—for the Finished Dose Manufacturer
  DFS—documentation regarding transactional chargeback data. These topics are either duplicative
  of the finalized Rule 34 requests or are being handled through the discussions regarding production
  of sales and pricing information. See, e.g., Request No. 69 (requesting communications with
  consumers regarding valsartan recalls); Request No. 80 (requesting communications with
  consumers regarding purity, bioequivalence, or contamination of valsartan); Request No. 86
  (requesting communications with healthcare providers).

  5.     Core Discovery from Hetero Labs, Ltd., Hetero Drugs, Ltd., and Aurobindo
         Pharma, Ltd.

         Defendant Hetero Labs, Ltd. (“HLL”) and Plaintiffs have reached agreement on the
  following deadlines for producing the documents required by the Court’s April 29, 2019 Order
  (Dkt. 88) (“Core Discovery Order”):

                By June 13, 2020, HLL will produce Establishment Inspection Reports, Form
                 483s, and correspondence with the FDA as required by the Core Discovery Order;

                By July 13, 2020, HLL will produce any outstanding Core Discovery items from
                 2013 onward not captured by previous productions;

                By July 31, 2020, HLL will produce any outstanding Core Discovery documents
                 from 2011 to 2013.

          Counsel for Defendant Aurobindo Pharma Ltd. (“Aurobindo”) continues to engage in the
  meet-and-confer process with Plaintiffs’ counsel on the deadline for core discovery. Plaintiffs
  proposed June 26, 2020 as the deadline. Aurobindo proposed July 31, 2020, and reserved the right
  to seek further guidance from the Court should that date become unworkable due to circumstances
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  relating to COVID-19, which continue to evolve. Plaintiffs proposed that Aurobindo produce
  certain FDA correspondence before July 31, 2020. Aurobindo anticipates the parties will reach an
  agreement on deadlines by May 27, 2020.

  6.     Manufacturer Sales & Pricing Productions

         The Manufacturer Defendants have made productions of sales and pricing information that
  substantially comply with their obligation to respond to the single sales and pricing related
  document request in this litigation.

         The final version of the Requests for Production of Documents to All API and Finished-
  Dose Manufacturing Defendants (“Manufacturer Document Requests”), which was adopted in the
  Court’s December 23, 2019 Order (Dkt. 328), contains only one request for sales and pricing
  documents. See Dkt. 328 at 16. As reflected in the final set of Manufacturer Document Requests,
  ten additional requests had been withdrawn pursuant to a Court-approved agreement that was
  reached on the record during the December 11, 2019 Case Management Conference. See id.
  (showing requests 101-106 and 108-11 as withdrawn, leaving only request 107).

          Under the Court’s April 20, 2019 Text Order (Dkt. 416), each Manufacturer Defendant
  was required to make a production of its sales and pricing documents by May 15. Mylan made its
  production in accordance with an agreement resulting from its meet and confer efforts with
  Plaintiffs. ZHP (and its distributor Solco) also attempted to meet and confer with Plaintiffs,
  detailing by email on May 5 the documents that they were planning to produce. Plaintiffs did not
  respond to counsel for ZHP/Solco’s email detailing their productions until May 14, the day before
  the document productions were due. Given that there was at that point no time to make adjustments
  and also abide by the May 15th deadline, ZHP and Solco made their sales and pricing productions
  on May 15th in accordance with their counsel’s May 5th email. Plaintiffs did not attempt to meet
  and confer with the remaining Manufacturing Defendants prior to the May 15 production deadline.

          On May 20 and 21, Plaintiffs sent letters to several Manufacturer Defendants, claiming that
  the Defendants’ productions were deficient. Rather than focusing on purported failures to produce
  materials as agreed by the Parties to fulfill Document Request No. 107—the sole remaining sales
  and pricing request—these letters largely focused on complaints that Defendants had not produced
  certain information falling clearly outside that Request. For example, Plaintiffs demanded that the
  Manufacturer Defendants produce “data dictionaries or field keys.” Not only does this information
  fall outside the scope of Document Request No. 107, but it requests information that was sought
  in one of the withdrawn requests. Compare Exhibit F at Document Request No. 111 with Exhibit
  G (Dkt. 328) at 16. Defendants certainly are not “deficient” for not producing information the
  request for which was explicitly withdrawn. Similarly, Plaintiffs complain that certain Defendants
  did not produce exemplar sets of documents that are sent to customers to correspond with each
  transaction (e.g., invoices, packing lists, etc.). Though these materials plainly fall outside the scope
  of Document Request No. 107, Mylan and ZHP produced these materials due to specific individual
  agreements with the Plaintiffs. Plaintiffs criticize some of the other Manufacturer Defendants for
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  not producing such documents, but this is clearly not a deficiency given that such documents fall
  outside Document Request No. 107 and Plaintiffs did not even request these materials from the
  other Manufacturer Defendants.

          To the extent Plaintiffs have issues with the sales and pricing productions, the Stipulated
  Electronic Discovery Protocol entered in this case requires the parties to meet and confer. Case
  Management Order No. 8 (Dkt. 127) at 2. The Manufacturer Defendants are willing to engage in
  the meet and confer process on these issues. Indeed, counsel for ZHP/Solco initiated this process
  the day it received Plaintiffs’ letter, and had a productive meet and confer with Plaintiffs on Friday,
  May 22, and Mylan has scheduled a meet and confer with Plaintiffs to be held during the afternoon
  of May 26.

  7.     Retailer/Wholesaler Macro Issues

         Pursuant to the Court’s May 18 Order (Dkt. 432), briefing on the Retailer Pharmacy and
  Wholesaler/Distributor Defendants’ macro discovery issues is scheduled to be completed no later
  than June 22, with the Court to hear argument on these issues on June 24, 2020.

          Last week, counsel for the Retail Pharmacy Defendants met and conferred with Plaintiffs
  regarding outstanding issues concerning those portions of Plaintiffs’ draft Rule 34 request not
  impacted by the macro discovery briefing. Plaintiffs asked the Retail Pharmacy Defendants to
  confer and advise Plaintiffs when, approximately, the Retail Pharmacy Defendants could begin to
  produce documents for these requests. The Retail Pharmacy Defendants agreed to confer with
  their clients on an estimated production timeline once the remaining issues with these draft
  requests are resolved, but advised Plaintiffs that the production timeline may vary by defendant
  and, for some defendants, may continue to be impacted by challenges surrounding the current
  pandemic.

  8.     Prioritization of Manufacturer Productions

         On May 7, 2020, Plaintiffs served a letter delineating various categories of documents that
  they would like prioritized in the Manufacturer Defendants’ document productions. See Exhibit
  H. The Manufacturer Defendants responded by letter on May 22. See Exhibit I.

          Consistent with the Court’s instructions, the Manufacturers will make “reasonable, good
  faith efforts to comply with plaintiffs’ prioritization.” See MDL Text Order (Dkt. 416). Given
  differences in how each entity maintains its documents and the various states of accessibility of
  documents due to the current pandemic, there will be significant variability with respect to the
  information that each Manufacturer Defendant is able to prioritize for production. For this reason,
  the Manufacturer Defendants have requested individual meet and confers with Plaintiffs.
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  9.     Plaintiffs’ Leadership Structure

       Defendants take no position regarding Plaintiffs’ Motion to Expand Plaintiffs’ Steering
  Committee.


                                                       Respectfully submitted,

                                                       /s/ Seth A. Goldberg

                                                       Seth A. Goldberg




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